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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

ELIZABETH REYES                              )
                                             )
                                             )
v.                                           )      Case No.: 5:19-cv-00663
                                             )
AETNA LIFE INSURANCE COMPANY;                )
and FIRSTSERVICE RESIDENTIAL, INC. )
EMPLOYEE BENEFITS PLAN               )



                                   JOINT ADR REPORT

       Pursuant to Local Rule CV–88(b) and the Scheduling Order (Doc. 29), Plaintiff Elizabeth

Reyes (“Plaintiff”) and Defendant Aetna Life Insurance Company (“ALIC”) (collectively, the

“Parties”), jointly submit this ADR Report and show as follows:1

1.     Status of settlement negotiation.

       The Parties are currently engaged in informal, counsel to counsel settlement negotiations,
       and have exchanged written settlement offers as required under the Scheduling Order.

2.     Identity of person(s) responsible for settlement negotiation for each party.

       Plaintiff – Lee Fernon of the Sinclair Law Firm

       ALIC – Anna E. Imose of McAfee & Taft, A Professional Corporation

3.     Evaluation of whether alternative dispute resolution is appropriate in this case.

       The Parties disagree on whether alternative dispute resolution is appropriation in this
       matter.




1
 Defendant FirstService Residential, Inc. (FSR) was only recently added back into the case and
has not yet filed an Answer. FSR and Plaintiff are actively involved in settlement negotiations
concerning the document penalty claim.
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Plaintiff

Plaintiff began settlement discussions immediately after filing suit and has not stopped
her efforts since. The Parties’ respective positions does not leave much optimism that
ADR would be likely to yield any benefit. The poor prospects of success and financial
difficulties caused by Aetna’s cessation of benefit payments means this is not an expense
Plaintiff can currently bear. However, Plaintiff is certainly willing to attend if Aetna is
willing to pay for mediation. Aetna can choose the mediator.

ALIC

ALIC believes that alternative dispute resolution through mediation is appropriate in this
case. ALIC believes that a mediator with ERISA experience is in a position to achieve
progress towards settlement that is more significant than the Parties’ efforts to date. This
is because the Parties can likely better communicate through a neutral intermediary the
issues currently impeding settlement and more quickly exchange settlement offers. ALIC
is willing to completely cover the neutral’s compensation if Plaintiff is willing to attend
mediation in good faith.


                                      Respectfully submitted,


                                      s/Lee P. Fernon
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                                      COMPANY




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